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 8                                     UNITED STATES DISTRICT COURT

 9                           FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    JAVIER ANGEL MALDONADO,                            Case No. 1:22-cv-01518-HBK
12                        Plaintiff,                     ORDER DENYING WITHOUT
                                                         PREJUDICE STIPULATED
13           v.                                          PROTECTIVE ORDER
14    COUNTY OF TULARE, CALIFORNIA,                      (Doc. No. 14)
      and MICHAEL BOURDREAUX,
15
                          Defendants.
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17          Pending before the Court is the parties’ request for approval of the proposed stipulated

18   protective order filed on April 6, 2023. (Doc. No. 14). The Court denies the request, without

19   prejudice, because the proposed protective order does not comply with the Court’s Local Rules.

20          More specifically, the proposed protective order does not define with any specificity what

21   materials are protected. Notably, the term “confidential” is defined as follows:

22                    ‘CONFIDENTIAL’ Information or Items: information (regardless
                      of how it is generated, stored or maintained) or tangible things that
23                    qualify for protection under Federal Rule of Civil Procedure 26(c).
24   (Doc. No. 14 at 1, ¶ 2.2). Similarly, “PROTECTED MATERIAL” is defined as “any Disclosure

25   or Discovery material that is designated as “CONFIDENTIAL.’” (Id. at 2-3, ¶ 2.13). Such

26   language is too broad and not compliant with this Court’s Local Rules. Specifically, Eastern

27   District of California Local Rule 141.1(c) requires that every proposed protective order contain

28   the following:
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 1                    [a] description of the types of information eligible for protection
                      under the order, with the description provided in general terms
 2                    sufficient to reveal the nature of the information (e.g., customer list,
                      formula for soda, diary of a troubled child); (2) [a] showing of
 3                    particularized need for protection as to each category of information
                      proposed to be covered by the order; and (3) [a] showing as to why
 4                    the need for protection should be addressed by a court order, as
                      opposed to a private agreement between or among the parties.”
 5                    (paragraph breaks omitted.)

 6   Eastern District of California Local Rule 141.1(c).

 7            The parties have failed to comply with Local Rule 141.1(c). The parties have included a

 8   catchall description of confidential information and such description is not sufficient “in general

 9   terms [] to reveal the nature of the information” under Local Rule 141.1(c)(1). Further, the

10   parties also have not made a showing of particularized need for protection as to each category or

11   explained why a court order is necessary, as opposed to a private agreement between the parties.

12   Id.

13            Accordingly, it is ORDERED:

14            The parties’ request for approval of the proposed stipulated protective order (Doc. No. 14)

15   is DENIED, without prejudice, to refiling a stipulated protective order that complies with Local

16   Rule 141.1(c).

17   Dated:      April 7, 2023
18                                                        HELENA M. BARCH-KUCHTA
                                                          UNITED STATES MAGISTRATE JUDGE
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